54 F.3d 774NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    UNITED STATES of America, Plaintiff-Appellee,v.Eugene JACKSON, Defendant-Appellant.
    No. 94-7302.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 20, 1995.Decided May 22, 1995.
    
      Eugene Jackson, appellant pro se.  Clarence Holland Albright, Jr., Office of the United States Attorney, Alexandria, VA, for appellee.
      Before WIDENER, WILKINSON, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his "Motion for Stay to Alter or/to Amend Judgment Pursuant to Fed.R.Civ.P. 62," his motion for reconsideration under Fed.R.Civ.P. 59, and his 28 U.S.C. Sec. 2255 (1988) motion.  We have reviewed the record and the district court's opinion, and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  United States v. Jackson, Nos.  CR-83-116;  CA-94-473-AM (E.D. Va.  Aug. 9;  Sept. 6;  and Sept. 22, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    